      Case 1:17-cv-01953-RDM Document 57-11 Filed 11/27/17 Page 1 of 4




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


                                  )
ATLAS, INC., et al.,              )     Case No.: 1:17-cv-01953-RDM
                                  )
             Plaintiffs,          )     Hon. Randolph D. Moss
                           v.     )
                                  )
INTERNATIONAL BROTHERHOOD )
OF TEAMSTERS, AIRLINE     )
DIVISION, et al.,         )
                                  )
             Defendants.          )
~~~~~~~~~~.)

    DEFENDANTS' MEMORANDUM IN OPPOSITION TO PLAINTIFFS'
         MOTION FOR PRELIMINARY INJUNCTIVE RELIEF




                       Union Exhibit 48:
 Screenshots of Flight P0213, June 7
                                                                                                                                                                       Page : 1
       ATLA S AIR                                        Crew Name changes on each flight leg Report
       Fri .27 Oct 201 7                                                           From 10/20/2017 To 11/21 /20 17                                                     Time : 14:21


       "On" Date      "On" Time "For" Da te Flight Leg Data                        Actio n        Cre w Na m e                                       User who made the change
       04/25/2017     17:26      06/07/2017   213 CVG   NRT   1$:00    7 :20 PAX   Assiqned       Guerin, Eric ( CVG - 748 - CA ) 449737             MAYRA CASTRO
       05/25/201 7    21:19                   213 CVG   NRT   18:00    7: 20 PAX   Assiqned       Willcox , Nea l ( CVG - 748 - FO ) 451224          WILBERT ORTIZ
                      21:32                   213 CVG   NRT   18:00    7:20 PAX    Assigned       Rivera -Rodriguez, Manuel ( CVG - 748 - FO ) 451   WILBERT ORTIZ
                      22:40                   213 CVG   NRT   18:00    7:20 748    Assigned       Oberg , Kurtis ( ANC - 748 - CA ) 1836             MARIDA LIA SANGIOVANNY
                      23:34                   213 CVG   NRT   18:00    7:20 748    Assigned       Ov erby, Drue ( CVG - 748 - FO ) 450918            WILBERT ORTIZ
                      23 :48                  213 CVG   NRT   18:00    7 :20 748   Assig ned      Wallingford, Brian ( CVG - 748 - FO ) 451827       WILBERT ORTIZ
       05/26/ 2017    14 :31                  213 CVG   NRT   l S:OO   7 :20 748   De-Assigned    Wallingford, Brian ( CVG - 748 • FO ) 451827       BRIGITTE MCCLOSKEY
                                              213 CVG   NRT   18:00    7 :20 748   Assigned       Wallingford, Brian ( CVG - 748 - FO ) 451 827      BRIGITTE MCCLOSKEY
                                              213 CVG   NRT   18:00    7:20 748    De-Assiqned    Wallinaford, Brian ( CVG - 748 - FO ) 451 827      BRIGITTE MCCLOSKEY
                                              213 CVG   NRT   18:00    7:20 748    Assigned       Wallingfo rd, Brian ( CVG - 748 - FO ) 451827      BRIGITTE MCCLOSKEY
       05/ 30/2017    23 :05                  213 CVG   NRT   18:00    7:20 748    Assigned       Scully, A rmer ( ORD - 748 - FO ) 451286           LEVON MEUKYAN
       06/05/ 2017    10:19                   213 CVG   NRT   18:00    7:20 PAX    Assigned       Nirel, Ed ward ( CVG - 748 - FO ) 452008           AIDA ARROYO
                      18 :24                  213 CVG   NRT   18:00    7:20 748    Ass igned      Groeschen, Daniel ( CVG - 748 - CA ) 449911        TH ELMA BRADLEY
                      18:25                   213 CVG   NRT   18 :00   7:20 748    De-Assigned    Groeschen, Daniel ( CVG - 748 - CA ) 44991 1       THELMA BRADLEY
       06/06/2017     4 :44                   213 CVG   NRT   18:00    7:20 748    De-Assicned    Scullv ' Armer ( ORD - 748 - FO ) 451286           ANDREW KOLBUS
                       4:48                   213 CVG   NRT   18:00    7:20 748    Assiqned       Lofts, William ( CVG - 748 - CA ) 449811           ANDREW KOLBUS
                       6:56                   213 CVG   NRT   18:00    7:20 748    De·Assiqned    Lofts, William ( CVG - 748 - CA ) 449811           JACQUUNE MEJlA
                       6:57                   213 CVG   NRT   18:00    7:20 748    Assiqned       Tay lor, Erik ( ORD - 748 - FO l 451318            JACQUU NE MEJlA
                       7:34                   213 CVG   NRT   18:00    7 :20 748   Assigned       Sirrone, Silas ( ANC - 748 - FO ) 451151           OMAR BOUCHERKA
                       7:36                   213 CVG   NRT   18:00    7 :20 748   De-Assigned    Sirro ne, Silas ( ANC - 748 - FO ) 451151          OMA R BOUCHERKA
                      16:05                   213 CVG   NRT   18:00    7:20 PAX    De-Assigned    Guer in, Eric ( CVG - 748 - CA ) 449737            CHRISTINE NESTOR
                      19 :46                  213 CVG   NRT   18:00    7:20 748    De-Assiqned    Ov erbv , Drue ( CVG - 748 - FO ) 450918           JULIAN IEONG
                      20 :33                  213 CVG   NRT   18:00    7:20 748    Assiqned       Ruiz, Francisco ( ANC - 748 - FO ) 451847          JEREMIA H HARRINGTO N
                      23:52                   213 CVG   NRT   18 :00   7:20 748    De-Assiqned    Ta y lor, Erik ( ORD - 748 - FO ) 451318           JEREMIAH HA RRI NGTON
       06/07/2017      2:37                   213 CVG   NRT   18:00    7:20 748    Assiqned       Moy, Siu Cheunq (Vincent) ( ANC - 748 - FO ) 45    JEREMIAH HARRINGTON
       06/ 14/2017     9 :34                  213 CVG   NRT   18:00    7:20 748    De-Assiqned    Wallinqford, Brian ( CVG - 748 - FO ) 451827       BRI GITTE MCCLOSKEY
                                              213 CVG   NRT   18:00    7 :20 748   Assiqned       Wallinqford, Brian ( CVG - 748 - FO ) 451827       BRIGITTE MCCLOSKEY
                                              213 CVG   NRT   18:00    7:20 748    De-Assiq ned   Wallinqford, Brian ( CVG - 748 - FO ) 451827       BRI GITTE MCCLOSKEY
                                              213 CVG   NRT   18:00    7:20 748    Asslqned       Wallinaford, Brian ( CVG - 748 - FO ) 451827       BRIGITTE MCCLOSKEY
         Selected criceri a
         " Fo r " Da c e Sel ec t e d           Fr o m 1 0/ 2 0/ 2 0 1 7 To 1 1 / 21 / 2 0 17
         " On " Dac e S e le c te d            .l\ n y Daces
          1    1
         ' 0 n '  Ti me Se l ec t ed            F r o m 0 : 00 T o 2 3 : 5 9
         F lee t Se l ec t e d                 AL L
         S o rt e d By                         Da t e and c i me
         ~ umber Of ch a n g e s Made          29
         Type Of Chan g es Ma d e              Bo th
         T y p e Of Fli g hts Rep o rt ed      Bo t h
                                                                                                                                                                                      Case 1:17-cv-01953-RDM Document 57-11 Filed 11/27/17 Page 2 of 4




48.1
  li! @;!t~  @j·\XitEiW ·.r              +'ii       .F'+.

    ---    - - 741'.748.7"4 (8206 FO Regular 60)                                                                                                                                                                                                                                I l 'lB.Z,U138J,08091ii

               I           ::Jlscuur.Amber                                  ::Jlo512712017   l§llr•l~I ~...P.:+.1=4:+r                                                                                                                                                                                    ~
  ..                                                                                               MED-. Use for l.1ED shorter thiin JO davs              sent emoll re: sched 2oooz/s1h Uli
  1                                                                                                                                                                                                                                                                                                           11
                                                                           ~~-~j~ll!ll
   Tue, 23 May Wed, 24 Ma~ Thu, 25 May Fri, 26 May Sat, 27 May Sun, 28 May Mon, 29 Ma} Tue , 30 May Wed, 31                                                                                                                Ma~    Thu , 01 Jun Fri, 02 Jun
                                                                                                                .                                                              B




   Mon, 05 Jun Tue, 06 J un Wed , 07 Jur Thu, 08 Jun Fri, 09 Jun Sat, 10 Jun Sun, 11 Jun Mon, 12 Jun Tue, 13 Jun Wed, 14 Jur Thu , 15 Jun Fri, 16 Jun                                                                                                                                           Sat, 17 Jun
               M                                                 M
               MED                                   ~ ==>                                                       =>                       =>   ==>                             ==>                            ==>                                      ==>                                      ==>
                                                                                                ~                                 [i!m
                      -                                                                         WC286


                                                ~ Crew Schedule Modification log for 06.06.2017                                                                                                                                                                f3
                                                 Mscellaneous Tools View

                                                ll ~l n-il    Al ?I i ~           lfil1l
                                                                                                                                                                                                                                                 Lj.n_~l....Q_U
   Sun, 18 Jun Mon, 19 Jun                                                                                            At     By    User
                                                                                                                          Option llotified
                                                · IF;r;--T;r,,:;pe;-;o-;1 -cChh;an~g;;es;-----------s;--u;;;;-:;:---=;~~==~==;:~~~~~~~     At                   On                                                    By   User                  On
                                                                                                                                                                                                                                                                     8 Jur Thu , 29 Jun Fri, 30 Jun
                                                 Ob !lb     A~~ 1qn e ::t   To (11:,c41 10 JO                               i~u   IHLEERT      ~· R   l    ~7   (I C,   _ ..   _11 1'"'   :   ~ 4             -
                                                 06 06      Route    0 6541     changed                                    525    LEVOJI llELI             01 05 31 20 17                     4 5                   1503 AllDREY Y.OL   B - 44    06   06   20 1 7
   ==>                                           06 06      Route    0 6541     changed                                    S2 S   LEVOll MELI              OS OS 31 2017                          5                 1503 AliDREV KOL    B . 44    06   06   20 17         ==>                   ==>
                                                106 06 De- assigned From 06541 / 11 : 00                                  150 3   ANDREll' Y.OL            44 06 06 . 2017                        3           Yes 1503 AllDREl1 Y.OL    6 : 44    06   06   2017
                                            I    06 06 Ass igned To MED                                                   150 3   AHDREU Y.OL              44 06 06 . 20 17                       3           Yes 1503 AHDREl1 KOL      8 44      06   06   2017
                                                                                                                                                                                                                                                                                                                   Case 1:17-cv-01953-RDM Document 57-11 Filed 11/27/17 Page 3 of 4




                                                                                                                                                                                                      ..!!!




48.2
                   Case 1:17-cv-01953-RDM Document 57-11 Filed 11/27/17 Page 4 of Overby
                                                                                  4
ATLAS AIR                     History of changes for crew route 06613 of 06/07/2017            Page : 1
Fri ,27 Oct 2017                                                                               Time : 14:29

Route created by use r 73 CHOUKRI SABBAGH on 05/25/2017 at 22:59:59 (job 51)
!Flight   Dep Arr STD      STA Dep date TripDay DH Lim tbl Rept Debr AC      Hotel
 P0213    CVG NRT 0915 2235 Wed07Jun        1          c                748
 P07 52   NRT ANC 0030 0710 Fri09Jun        3          B                744
 P0987    ANC CVG 0820 14 30 SatlOJun       4                           748


Crew Compl ement                 : 1 FO   I

Route deleted by user 1434 JULIAN IEONG on 06/06/2017 at 23:46:38 (Flight Schedule Changes)




                                                                                              48.3
